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                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

DR. KERI TURNER                                     :        CIVIL ACTION

                                                    :        NO. 21-CV-664
VERSUS
                                                    :        JUDGE____________________

BOARD OF SUPERVISORS OF                :      MAGISTRATE JUDGE
THE UNIVERSITY OF LOUISIANA                   ___________________________
SYSTEM AND STEVEN H. KENNEY, JR.
******************************************************************************
                            NOTICE OF REMOVAL

           NOW INTO COURT, through undersigned counsel, come the appearing defendants, the

Board of Supervisors of the University of Louisiana System and Steven H. Kenney, who

respectfully file this Notice of Removal on the following grounds, to wit:

                                       THE REMOVED CASE

                                                   1.

           On or around February 22, 2021, Dr. Keri Turner (“Plaintiff”) initiated this action in the

17th Judicial District Court for the Parish of Lafourche, State of Louisiana, under the caption Dr.

Keri Turner v. Board of Supervisors of the University of Louisiana System and Steven H. Kenney,

Jr., docket number C142291, Division “C”.1

                                                   2.

           Plaintiff brings claims under 29 U.S.C. § 2615 asserting entitlement to damages from the

appearing defendants as a result of alleged violations of the United States Constitution.




1
    Exhibit 2. Petition
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                                                   3.

           Because Plaintiff asserts claims arising under federal law, this Court has subject matter

jurisdiction pursuant to 28 U.S.C. § 1331 and, under 28 U.S.C. § 1441(a) removal is proper.

                                                   4.

           Defendants further state that this Court currently has supplemental jurisdiction over all

state law claims asserted by Plaintiff pursuant to the provisions of 28 U.S.C § 1367(a) because

those claims are so related to Plaintiff’s claims asserted under 29 U.S.C. § 2615 that they form part

of the same case or controversy under Article III of the United States Constitution.

                                              PARTIES

                                                   5.

           On February 24, 2021 Defendant Steven Kenney was served with Plaintiff’s Petition.2. On

March 11, 2021, the Defendant Board of Supervisors was served with Plaintiff’s Petition.3

                                      REMOVAL IS TIMELY

                                                   6.

           The appearing defendants show that this notice of removal was timely filed with this Court

pursuant to the provision of 28 U.S.C. § 1446(b)(2)(B)-(C) because it was removed within thirty

(30) days after the service of Plaintiff’s Petition upon defendants.

                                               VENUE

                                                   7.

           The venue of this removal action is proper pursuant to the provisions of 28 U.S.C.

§1441(a), insofar as the United States District Court for the Eastern District of Louisiana includes




2
    Exhibit 3
3
    Exhibit 3
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Lafourche Parish and the 17th Judicial District Court, the Court where the instant action is currently

pending.

                                     NOTICE OF REMOVAL

                                                 8.

       Notice of the filing of this Notice of Removal is being given to the adverse parties, as

required by law.

                                                 9.

       A true copy of this Notice of Removal is being filed with the Clerk of Court for the 17th

Judicial District Court, Parish of Lafourche, State of Louisiana, as required by law.

                                                 10.

       All defendants who have been properly joined and served herby join in the removal of the

action, and consent to the removal of this action.

       WHEREFORE, appearing Defendants, the Board of Supervisors of the University of

Louisiana System and Steven H. Kenney, hereby remove this case from the 17th Judicial District

Court for the Parish of Lafourche to the United States District Court for the Eastern District of

Louisiana for further disposition.

                                                       RESPECTFULLY SUBMITTED:

                                                       JEFF LANDRY
                                                       ATTORNEY GENERAL

                                               BY:     /s/E. Bridget Wheeler
                                                       Erin Bridget Wheeler (#37546)
                                                       Assistant Attorney General
                                                       Louisiana Department of Justice
                                                       Litigation Division
                                                       1450 Poydras Street, Suite 900
                                                       New Orleans, Louisiana 70112
                                                       Phone: (504) 599-1200
                                                       Fax: (504) 599-1212
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                                                        Email: WheelerEB@ag.louisiana.gov



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this, 1st day of April, 2021, the above entitled pleading was

filed electronically with the Clerk of Court by using the CM/ECF system. Notice of this filing will

be sent to all parties who participate in electronic filing by operation of the court’s electronic filing

system.

        I HEREBY FURTHER CERTIFY that this, 1st day of April, 2021 a copy of the foregoing

was provided to plaintiff via U.S. First Class Mail and/or electronic mail, to the below name and

address:

        Dr. Keri Turner, through her attorney of record:
        Dale E. Williams
        212 Park Place
        Covington, Louisiana 70433


                                       /s/ E. Bridget Wheeler
                                   Erin Bridget Wheeler (#37546)
                                     Assistant Attorney General
